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14
                                         UNITED STATES DISTRICT COURT
15                                      NORTHERN DISTRICT OF CALIFORNIA
16                                          SAN FRANCISCO DIVISION

17

18   DONALD J. TRUMP, et al.,                                 Case No. 21-cv-08378-JD
19                             Plaintiffs,                    DECLARATION OF ARI HOLTZBLATT
                                                              IN SUPPORT OF TWITTER, INC.’S
20
             v.                                               OPPOSITION TO PLAINTIFF’S
21                                                            MOTION FOR INDICATIVE RULING
     TWITTER, INC., et al.,
22
                               Defendants.
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      HOLTZBLATT DECLARATION IN                                                         Case No. 21-cv-08378-JD
      SUPPORT OF OPPOSITION TO
      MOT. FOR INDICATIVE RULING
          Case 3:21-cv-08378-JD Document 195-2 Filed 06/01/23 Page 2 of 3




 1   I, Ari Holtzblatt, declare and state as follows:

 2           1.      I am an attorney licensed to practice law in Washington, D.C. and am one of the counsel

 3   of record for Defendants Twitter, Inc. (“Twitter”) and Jack Dorsey in this action. I submit this

 4   Declaration in support of Twitter’s arguments that the First Amendment claims of Donald J. Trump,

 5   Linda Cuadros, and Wayne Alan Root are moot.

 6           2.      Exhibit A is a true and accurate copy of Elon Musk’s Tweet announcing a public poll

 7   regarding the reinstatement of Donald J. Trump’s twitter account, as downloaded on March 14, 2023 from

 8   Twitter’s website at https://twitter.com/elonmusk/status/1593767953706921985.
 9           3.      Exhibit B is a true and accurate copy of Elon Musk’s Tweet announcing the reinstatement
10   of Donald J. Trump’s twitter account, as downloaded on March 14, 2023 from Twitter’s website at
11   https://twitter.com/elonmusk/status/1594131768298315777.
12           4.      Exhibit C is a true and accurate copy of Twitter’s blog post regarding its COVID-19
13   misleading information policy, as downloaded on March 13, 2023 from Twitter’s website at
14   https://blog.twitter.com/en_us/topics/company/2020/covid-19.
15           5.      Exhibit D is a true and accurate copy of Elon Musk’s Tweet announcing an amnesty for
16   certain suspended accounts, as downloaded on March 15, 2023 from Twitter’s website at
17   https://twitter.com/elonmusk/status/1595869526469533701.
18           6.      Exhibit E is a true and accurate copy of Twitter’s help center page titled “About

19   Community Notes on Twitter,” as downloaded on March 14, 2023 from Twitter’s website at

20   https://help.twitter.com/en/using-twitter/community-notes.

21           I declare under penalty of perjury that the foregoing is true and correct. Executed on this 1st day

22   of June 2023 in Washington, D.C.

23
                                                        By: /s/ Ari Holtzblatt
24                                                          Ari Holtzblatt
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      HOLTZBLATT DECLARATION IN                            1                            Case No. 21-cv-08378-JD
      SUPPORT OF OPPOSITION TO
      MOT. FOR INDICATIVE RULING
          Case 3:21-cv-08378-JD Document 195-2 Filed 06/01/23 Page 3 of 3




 1                                       CERTIFICATE OF SERVICE

 2            I hereby certify that on June 1, 2023 I electronically filed the above document with the Clerk of

 3   the Court using CM/ECF which will send electronic notification of these filings to all registered counsel.

 4
     Dated:    June 1, 2023                         By:       /s/ Ari Holtzblatt
 5
                                                              ARI HOLTZBLATT
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      HOLTZBLATT DECLARATION IN                           2                             Case No. 21-cv-08378-JD
      SUPPORT OF OPPOSITION TO
      MOT. FOR INDICATIVE RULING
